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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ROBERT GUERRA,                             )
                                           )
                Plaintiff,                 )
v.                                         )                         NO.     20 CV 6763
                                           )
CITY OF CHICAGO, OFFICER DIAZ, and UNKNOWN )
CHICAGO POLICE OFFICER,                    )
                                           )
                Defendants.                )                         JURY TRIAL DEMANDED

                                          COMPLAINT

        NOW COMES the Plaintiff, ROBERT GUERRA, by and through his attorney,

BASILEIOS J. FOUTRIS, and for his Complaint against the Defendants, CITY OF CHICAGO,

OFFICER DIAZ, and UNKNOWN CHICAGO POLICE OFFICER, states as follows:

                                         Nature of Action

        1.      This action is brought pursuant to the Laws of the United States Constitution,

through 42 U.S.C. §1983 and 42 U.S.C. §1988, to redress deprivations of the Civil Rights of the

Plaintiff by the Defendants in connection with an incident on November 16, 2019.

                                     Jurisdiction and Venue

        2.      This Court has jurisdiction pursuant to 28 U.S.C. §1331, 28 U.S.C. §1343, and 28

U.S.C. §1367.

        3.      At all relevant times, the Plaintiff was a resident of the State of Illinois in this

Judicial District.

        4.      At all relevant times, CITY OF CHICAGO was a municipal corporation located in

the State of Illinois in this Judicial District. At all relevant times, the CITY OF CHICAGO was

the employer of Defendants OFFICER DIAZ and UNKNOWN CHICAGO POLICE OFFICER.




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Defendants OFFICER DIAZ and UNKNOWN CHICAGO POLICE OFFICER were at all relevant

times employed by Defendant CITY OF CHICAGO as duly appointed POLICE OFFICERS acting

within the course and scope of their employment and under color of law. Defendants OFFICER

DIAZ and UNKNOWN CHICAGO POLICE OFFICER are being sued in their individual

capacities with respect to the federal claims. The state claims against CITY OF CHICAGO are

being advanced both on a respondeat superior basis, as that Defendant is the employer of

Defendants OFFICER DIAZ and UNKNOWN CHICAGO POLICE OFFICER, and pursuant to

Illinois’ indemnification statute.

        5.     All the events giving rise to the claims asserted herein occurred within this Judicial

District.

                                               Facts

        6.     On November 16, 2019, the Plaintiff was located in a car that was parked in a

parking lot at approximately Kostner and Congress, in Chicago, IL. The Plaintiff was not violating

any laws, rules, or ordinances. Additionally, at that time, there was no probable cause or

reasonable suspicion to believe that the Plaintiff was violating any laws, rules, or ordinances. On

that date, the Plaintiff was 17 years old.

        7.     As the Plaintiff sat in the car, he observed an interaction between Chicago police

officers and a pedestrian. The Plaintiff decided to record that interaction with his iPhone XR. At

that time, the Plaintiff had been in possession of that iPhone for approximately 9-10 months.

        8.     The Plaintiff stopped recording the interaction as it appeared nothing out of the

ordinary was occurring.      Shortly after he stopped recording, two Chicago police officers

approached the Plaintiff’s vehicle. The two officers that approached the Plaintiff were Defendants

DIAZ and his partner, UNKNOWN CHICAGO POLICE OFFICER.




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        9.      The Defendant Officers opened the car door, and directed the Plaintiff to exit the

vehicle. The UNKNOWN CHICAGO POLICE OFFICER then began searching the vehicle.

        10.     At that point, the Plaintiff took out his iPhone and he began to record the Defendant

Officers. In response, Defendant OFFICER DIAZ questioned the Plaintiff’s actions by stating

“f***ing recording?” to the Plaintiff. The Plaintiff told Defendant OFFICER DIAZ that he had

the right to record.

        11.     In response to the Plaintiff’s statement and actions, Defendant OFFICER DIAZ

took the Plaintiff’s iPhone, put the phone in DIAZ’s pocket, handcuffed the Plaintiff, told the

Plaintiff that DIAZ would “show you where you’re at, you’re in the 9th”, and placed the Plaintiff

in the back of a squad car.

        12.     Defendant DIAZ then entered the squad car, and DIAZ began to choke the 17-year-

old Plaintiff as he was handcuffed.

        13.     Additionally, while the Plaintiff was handcuffed in the back of the squad car, DIAZ

slammed the 17-year-old Plaintiff on the interior of the window of the squad car.

        14.     During this interaction, DIAZ told the Plaintiff that “you could have been on your

way right now if you didn’t take out your phone”.

        15.     DIAZ’s partner, the UNKNOWN CHICAGO POLICE OFFICER, had a reasonable

opportunity to prevent the harm and/or the unlawful behavior referenced above, but failed and/or

declined to do so. Instead, he asked the Plaintiff “still talking s**t?”.

        16.     Eventually, the Defendants released the Plaintiff from their custody. However, they

refused to return the iPhone to the Plaintiff. The Defendant Officers told the Plaintiff that his

iPhone was gone, and that he could not get it back.




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       17.      Eventually, the Plaintiff went to a hospital to receive medical treatment for the

physical injuries that he suffered due to his treatment by the Defendant Officers.

       18.      The November 16, 2019 use of force and stifling of the Plaintiff’s right to speech

by way of recording the Defendant Officers were done without legal justification and without

probable cause. Similarly, the detention of the Plaintiff on November 16, 2019 was done without

legal justification and without probable cause. Further, the confiscation of the Plaintiff’s iPhone

on November 16, 2019 was done without legal justification and without probable cause. All of

the Defendants above-referenced acts were intentional and/or willful and wanton and/or

unreasonable.

                                 COUNT I - 42 U.S.C. §1983
                       Free Speech/Right to Record Police – Officer Diaz

       19.      The Plaintiff re-alleges Paragraphs 1 through 18, inclusive, and incorporates those

Paragraphs herein, as though fully stated as this Paragraph 19.

       20.      As described above, OFFICER DIAZ violated and/or interfered with the Plaintiff’s

right to record the Defendant Officers in a public place as they were performing their duties.

       21.      The misconduct was undertaken by OFFICER DIAZ under color of law, under the

course and scope of his employment, was objectively unreasonable and/or with malice, and/or was

undertaken intentionally and/or with willful indifference to the Plaintiff’s constitutional rights.

       22.      The acts of OFFICER DIAZ were undertaken in violation of the Plaintiff’s rights

as guaranteed by the United States Constitution.

       23.      As a direct and proximate result of the acts of OFFICER DIAZ, the Plaintiff was

injured, suffered emotional anxiety, mental trauma, humiliation, fear, stress, pain and suffering,

and other damages.




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       WHEREFORE, the Plaintiff, ROBERT GUERRA, prays for judgment in his favor and

against the Defendant, OFFICER DIAZ, awarding compensatory damages, punitive damages,

attorney fees, and costs against the Defendant, as well as any other relief this Court deems just and

appropriate.

                                   COUNT II - 42 U.S.C. §1983
                                  Excessive Force – Officer Diaz

       24.     The Plaintiff re-alleges Paragraphs 1 through 23, inclusive, and incorporates those

Paragraphs herein, as though fully stated as this Paragraph 24.

       25.     As described above, OFFICER DIAZ used excessive, unreasonable and

unwarranted force against the Plaintiff.

       26.     The misconduct was undertaken by OFFICER DIAZ under color of law, under the

course and scope of his employment, was objectively unreasonable and/or with malice, and/or was

undertaken intentionally and/or with willful indifference to the Plaintiff’s constitutional rights.

       27.     The acts of OFFICER DIAZ were undertaken in violation of the Plaintiff’s rights

as guaranteed by the United States Constitution.

       28.     As a direct and proximate result of the acts of OFFICER DIAZ, the Plaintiff was

injured, suffered emotional anxiety, mental trauma, humiliation, fear, stress, pain and suffering,

and other damages.

       WHEREFORE, the Plaintiff, ROBERT GUERRA, prays for judgment in his favor and

against the Defendant, OFFICER DIAZ, awarding compensatory damages, punitive damages,

attorney fees, and costs against the Defendant, as well as any other relief this Court deems just and

appropriate.




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                                COUNT III - 42 U.S.C. §1983
                         Unreasonable Seizure of Person – Officer Diaz

       29.     The Plaintiff re-alleges Paragraphs 1 through 28, inclusive, and incorporates those

Paragraphs herein, as though fully stated as this Paragraph 29.

       30.     As described above, OFFICER DIAZ unreasonably seized and/or unlawfully

detained the Plaintiff’s person.

       31.     The misconduct was undertaken by OFFICER DIAZ under color of law, under the

course and scope of his employment, was objectively unreasonable and/or with malice, and/or was

undertaken intentionally and/or with willful indifference to the Plaintiff’s constitutional rights.

       32.     The acts of OFFICER DIAZ were undertaken in violation of the Plaintiff’s rights

as guaranteed by the United States Constitution.

       33.     As a direct and proximate result of the acts of OFFICER DIAZ, the Plaintiff was

injured, suffered emotional anxiety, mental trauma, humiliation, fear, stress, pain and suffering,

and other damages.

       WHEREFORE, the Plaintiff, ROBERT GUERRA, prays for judgment in his favor and

against the Defendant, OFFICER DIAZ, awarding compensatory damages, punitive damages,

attorney fees, and costs against the Defendant, as well as any other relief this Court deems just and

appropriate.

                               COUNT IV - 42 U.S.C. §1983
                       Unreasonable Seizure of Property – Officer Diaz

       34.     The Plaintiff re-alleges Paragraphs 1 through 33, inclusive, and incorporates those

Paragraphs herein, as though fully stated as this Paragraph 34.

       35.     As described above, OFFICER DIAZ unreasonably seized the Plaintiff’s property.




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       36.     The misconduct was undertaken by OFFICER DIAZ under color of law, under the

course and scope of his employment, was objectively unreasonable and/or with malice, and/or was

undertaken intentionally and/or with willful indifference to the Plaintiff’s constitutional rights.

       37.     The acts of OFFICER DIAZ were undertaken in violation of the Plaintiff’s rights

as guaranteed by the United States Constitution.

       38.     As a direct and proximate result of the acts of OFFICER DIAZ, the Plaintiff was

injured, suffered emotional anxiety, mental trauma, humiliation, fear, stress, pain and suffering,

and other damages.

       WHEREFORE, the Plaintiff, ROBERT GUERRA, prays for judgment in his favor and

against the Defendant, OFFICER DIAZ, awarding compensatory damages, punitive damages,

attorney fees, and costs against the Defendant, as well as any other relief this Court deems just and

appropriate.

                                  COUNT V - 42 U.S.C. §1983
                    Failure to Intervene – Unknown Chicago Police Officer

       39.     The Plaintiff re-alleges Paragraphs 1 through 38, inclusive, and incorporates those

Paragraphs herein, as though fully stated as this Paragraph 39.

       40.     As described above, Defendant UNKNOWN CHICAGO POLICE OFFICER stood

by and watched without intervening to prevent the aforesaid constitutional violations and/or

deprivations to which the Plaintiff was subjected in violation of the United States Constitution,

even though he had a reasonable opportunity to prevent the harm and/or the unlawful behavior

referenced above, but failed and/or declined to do so.

       41.     The misconduct was undertaken by UNKNOWN CHICAGO POLICE OFFICER

under color of law, under the course and scope of his employment, was objectively unreasonable




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and/or with malice, and/or was undertaken intentionally and/or with willful indifference to the

Plaintiff’s constitutional rights.

        42.     The acts of UNKNOWN CHICAGO POLICE OFFICER were undertaken in

violation of the Plaintiff’s rights as guaranteed by the United States Constitution.

        43.     As a direct and proximate result of the acts of UNKNOWN CHICAGO POLICE

OFFICER, the Plaintiff was injured, suffered emotional anxiety, mental trauma, humiliation, fear,

stress, pain and suffering, and other damages.

        WHEREFORE, the Plaintiff, ROBERT GUERRA, prays for judgment in his favor and

against the Defendant, UNKNOWN CHICAGO POLICE OFFICER, awarding compensatory

damages, punitive damages, attorney fees, and costs against the Defendant, as well as any other

relief this Court deems just and appropriate.

                               COUNT VI – Illinois State Law
                      Respondeat Superior Battery – CITY OF CHICAGO

        44.     The Plaintiff re-alleges Paragraphs 1 through 43, inclusive, and incorporates those

Paragraphs herein, as though fully stated as this Paragraph 44.

        45.     As described above, Defendant, CITY OF CHICAGO, by and through its

employees, OFFICER DIAZ and UNKNOWN CHICAGO POLICE OFFICER, who were acting

in the course and scope of their employment, intended to cause, and did cause, harmful and/or

offensive contact of the Plaintiff without legal justification and/or probable cause.

        46.     As a proximate result of the aforementioned intentional, harmful and/or offensive

conduct of Defendant, CITY OF CHICAGO, by and through its employees OFFICER DIAZ and

UNKNOWN CHICAGO POLICE OFFICER, who were acting in the course and scope of their

employment, the Plaintiff was injured; has endured and will in the future endure physical and

emotional pain and suffering; has become disfigured and disabled; has suffered a loss of his normal



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life and/or disability; and has incurred and will in the future incur expenses for hospitalizations,

medical care, rehabilitative care and other related medical costs.

       47.     The above-referenced misconduct was undertaken by OFFICER DIAZ and

UNKNOWN CHICAGO POLICE OFFICER under color of law and under the course and scope

of their employment, and was undertaken intentionally. Pursuant to the doctrine of respondeat

superior, as the employer of Defendants OFFICER DIAZ and UNKNOWN CHICAGO POLICE

OFFICER, CITY OF CHICAGO is liable to the Plaintiff for the Defendants’, OFFICER DIAZ

and UNKNOWN CHICAGO POLICE OFFICER, actions/interaction with the Plaintiff, as

outlined above.

       WHEREFORE, the Plaintiff, ROBERT GUERRA, prays for judgment in his favor and

against the Defendant, CITY OF CHICAGO, awarding compensatory damages and costs against

the Defendant, as well as any other relief this Court deems just and appropriate.

                             COUNT VII – Illinois State Law
             Respondeat Superior False Detention/Arrest – CITY OF CHICAGO

       48.     The Plaintiff re-alleges Paragraphs 1 through 47, inclusive, and incorporates those

Paragraphs herein, as though fully stated as this Paragraph 48.

       49.     As described above, Defendant, CITY OF CHICAGO, by and through its

employees, OFFICER DIAZ and UNKNOWN CHICAGO POLICE OFFICER, who were acting

in the course and scope of their employment, detained and/or arrested the Plaintiff, or caused the

Plaintiff to be detained and/or arrested, without a warrant, without probable cause and without

legal justification. Due to the detention and/or arrest, the Plaintiff had his liberty to move about

restrained by the Chicago employees.

       50.     As a proximate result of the aforementioned intentional, harmful and/or offensive

conduct of Defendant, CITY OF CHICAGO, by and through its employees OFFICER DIAZ and



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UNKNOWN CHICAGO POLICE OFFICER, who were acting in the course and scope of their

employment, the Plaintiff was injured; has endured and will in the future endure physical and

emotional pain and suffering; has become disfigured and disabled; has suffered a loss of his normal

life and/or disability; and has incurred and will in the future incur expenses for hospitalizations,

medical care, rehabilitative care and other related medical costs.

       51.     The above-referenced misconduct was undertaken by OFFICER DIAZ and

UNKNOWN CHICAGO POLICE OFFICER under color of law and under the course and scope

of their employment, and was undertaken intentionally. Pursuant to the doctrine of respondeat

superior, as the employer of Defendants OFFICER DIAZ and UNKNOWN CHICAGO POLICE

OFFICER, CITY OF CHICAGO is liable to the Plaintiff for the Defendants’, OFFICER DIAZ

and UNKNOWN CHICAGO POLICE OFFICER, actions/interaction with the Plaintiff, as

outlined above.

       WHEREFORE, the Plaintiff, ROBERT GUERRA, prays for judgment in his favor and

against the Defendant, CITY OF CHICAGO, awarding compensatory damages and costs against

the Defendant, as well as any other relief this Court deems just and appropriate.

                              COUNT VIII – Illinois State Law
                   Respondeat Superior Conversion – CITY OF CHICAGO

       52.     The Plaintiff re-alleges Paragraphs 1 through 51, inclusive, and incorporates those

Paragraphs herein, as though fully stated as this Paragraph 52.

       53.     As described above, Defendant, CITY OF CHICAGO, by and through its

employees, OFFICER DIAZ and UNKNOWN CHICAGO POLICE OFFICER, who were acting

in the course and scope of their employment, intentionally, and without justification, consent or

authorization, deprived the Plaintiff of his personal property.




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       54.     As a proximate result of the aforementioned intentional, harmful and/or offensive

conduct of Defendant, CITY OF CHICAGO, by and through its employees OFFICER DIAZ and

UNKNOWN CHICAGO POLICE OFFICER, who were acting in the course and scope of their

employment, the Plaintiff was injured; has endured and will in the future endure physical and

emotional pain and suffering; has become disfigured and disabled; has suffered a loss of his normal

life and/or disability; and has incurred and will in the future incur expenses for hospitalizations,

medical care, rehabilitative care and other related medical costs.

       55.     The above-referenced misconduct was undertaken by OFFICER DIAZ and

UNKNOWN CHICAGO POLICE OFFICER under color of law and under the course and scope

of their employment, and was undertaken intentionally. Pursuant to the doctrine of respondeat

superior, as the employer of Defendants OFFICER DIAZ and UNKNOWN CHICAGO POLICE

OFFICER, CITY OF CHICAGO is liable to the Plaintiff for the Defendants’, OFFICER DIAZ

and UNKNOWN CHICAGO POLICE OFFICER, actions/interaction with the Plaintiff, as

outlined above.

       WHEREFORE, the Plaintiff, ROBERT GUERRA, prays for judgment in his favor and

against the Defendant, CITY OF CHICAGO, awarding compensatory damages and costs against

the Defendant, as well as any other relief this Court deems just and appropriate.

                                 Count IX- Illinois State Law
                            Indemnification - CITY OF CHICAGO

       56.     The Plaintiff re-alleges Paragraphs 1 through 55, inclusive, and incorporates those

Paragraphs herein, as though fully stated as this Paragraph 56.

       57.     At all relevant times the Defendant Officers were acting under color of law and

under the course and scope of their employment.




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       58.    At all relevant times the CITY OF CHICAGO was the employer of the Defendant

Officers.

       WHEREFORE, the Plaintiff, ROBERT GUERRA, pursuant to 745 ILCS 10/9-102,

demands judgment against Defendant, CITY OF CHICAGO, in the amounts awarded to the

Plaintiff against the Defendants, OFFICER DIAZ and UNKNOWN CHICAGO POLICE

OFFICER, and for whatever additional relief this Court deems just and appropriate.



                                       JURY DEMAND



       The Plaintiff demands a trial by jury on all Counts.




                                     Respectfully Submitted by,

                                     s/Basileios J. Foutris
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                                     Attorney for Plaintiff
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